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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    ADAM REYES
7
8                          IN THE UNITED STATES DISTRICT COURT
9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,             )   NO. CR-S-08-392 GEB
                                           )
13                     Plaintiff,          )   AMENDED
                                           )   STIPULATION AND ORDER TO CONTINUE
14          v.                             )   STATUS CONFERENCE DATE AND
                                           )   EXCLUDING TIME
15   ADAM REYES, et al.,                   )
                                           )
16                     Defendants.         )   Date: April 10, 2009
                                           )   Time: 9:00 a.m.
17   ______________________________        )   Judge: Garland E. Burrell, Jr.
18
19          The parties request that the status conference currently set for
20   April 10, 2009, be continued to May 29, 2009, and stipulate that the
21   time beginning April 10, 2009, and extending through May 29, 2009,
22   should be excluded from the calculation of time under the Speedy Trial
23   Act.    The parties submit that the ends of justice are served by the
24   Court excluding time so that counsel for each defendant may have
25   reasonable time necessary for effective preparation, taking into
26   account the exercise of due diligence.         18 U.S.C. § 3161(h)(8)(B)(iv);
27   Local Code T4.
28   ///
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1          The parties are in the process of discussing and negotiating the
2    various plea offers in this case.       Each defendant will need time to
3    consider his or her offer in light of the discovery.           As such, the
4    attorneys for each defendant need more time to review the discovery in
5    this case, discuss the discovery with their respective clients,
6    consider new evidence that may affect the disposition of this case,
7    conduct necessary legal research and investigation, and then discuss
8    with their clients how to proceed.        The parties stipulate and agree
9    that the interests of justice served granting this continuance outweigh
10   the best interests of the public and the defendant in a speedy trial.
11   18 U.S.C. § 3161(h)(8)(A).
12   Dated: April 9, 2009
                                             Respectfully submitted,
13
                                             DANIEL J. BRODERICK
14                                           Federal Defender
15                                           /s/ Matthew C. Bockmon
                                             ________________________________
16                                           MATTHEW C. BOCKMON
                                             Assistant Federal Defender
17                                           Attorney for Defendant
                                             ADAM REYES
18
19   Dated: April 9, 2009
                                             LAWRENCE G. BROWN
20                                           Acting United States Attorney
21                                           /s/ Matthew C. Bockmon for
                                             _________________________________
22                                           MICHAEL BECKWITH
                                             Assistant U.S. Attorney
23
24
25   Dated: April 9, 2009                    /s/ Michael A. Brush
                                             _________________________________
26                                           MICHAEL A. BRUSH
                                             Attorney for Defendant
27                                           Juan Gabriel Alvarez
28


     Stip & Order                             2
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1    Dated: April 9, 2009                    /s/ Clarence Emmett Mahle
                                             _________________________________
2                                            CLARENCE EMMETT MAHLE
                                             Attorney for Defendant
3                                            Juan Abarca-Catalan
4
     Dated: April 9, 2009                    /s/ Michael L. Chastaine
5                                            _________________________________
                                             MICHAEL L. CHASTAINE
6                                            Attorney for Defendant
                                             David Reyes Navarro
7
8    Dated: April 9, 2009                    /s/ Steven D. Bauer
                                             _________________________________
9                                            STEVEN D. BAUER
                                             Attorney for Defendant
10                                           Keoudone Noy Phaouthoum
11
     Dated: April 9, 2009                    /s/ Evans E. Prieston
12                                           __________________________________
                                             EVANS E. PRIESTON
13                                           Attorney for Defendant
                                             Victor Alfonso Ceja
14
15   Dated: April 9, 2009                    /s/ Danny D. Brace, Jr.
                                             ___________________________________
16                                           DANNY D. BRACE, JR.
                                             Attorney for Defendant
17                                           Ruben Anthony Olsen
18
     Dated: April 9, 2009                    /s/ Scott L. Tedmon
19                                           ___________________________________
                                             SCOTT L. TEDMON
20                                           Attorney for Defendant
                                             Majid Bajmanlo
21
22   Dated: April 9, 2009                    /s/ Julie H. Raridan
                                             ___________________________________
23                                           JULIE H. RARIDAN
                                             Attorney for Defendant
24                                           Juan Madrigal Rizo
25
     Dated: April 9, 2009                    /s/ William E. Bonham
26                                           __________________________________
                                             WILLIAM E. BONHAM
27                                           Attorney for Defendant
                                             Thomas Jesse Garcia
28


     Stip & Order                             3
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1    Dated: April 9, 2009                      /s/ Daniel M. Davis
                                               ___________________________________
2                                              DANIEL M. DAVIS
                                               Attorney for Defendant
3                                              Ashley Rhymer
4
     Dated: April 9, 2009                      /s/ Dan Koukol
5                                              ___________________________________
                                               DAN KOUKOL
6                                              Attorney for Defendant
                                               Steven Lopez
7
8
9
10                                           ORDER
11
           For the reasons stated above, the status conference in case number
12
     CR-S-08-392 GEB, currently set for April 10, 2009, is continued to May
13
     29, 2009; and the time beginning April 10, 2009, and extending through
14
     May 29, 2009 is excluded from the calculation of time under the Speedy
15
     Trial Act for effective defense preparation.           The Court finds that
16
     interests of justice served by granting this continuance outweigh the
17
     best interests of the public and the defendants is a speedy trial.
18
     18 U.S.C. § 3161 (h)(8)(A) and (B)(iv).
19
20
     IT IS SO ORDERED.
21
22   Dated:     April 15, 2009

23
24                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
25
26
27
28


     Stip & Order                               4
